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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    NEAL MILLER, et al.,                 :     CIVIL
                                         :     ACTION NO.
            Plaintiffs,                  :     20-6301
                                         :
     v.                                  :
                                         :
    CITY OF PHILADELPHIA, et al.,        :
                                         :
            Defendants.                  :


                        THIRD SCHEDULING ORDER

                 AND NOW, this 3rd day of April, 2023, upon

consideration of Plaintiffs’ unopposed request for an extension

of time, it is hereby ORDERED that the request is GRANTED for

good cause shown. The Court’s Second Scheduling Order (ECF No.

39) is accordingly AMENDED as follows:

            1.     All attorneys appearing before Judge Robreno must

be registered on ECF. All official filings submitted to the

Clerk of Court must be filed directly by the attorney on to ECF.

All orders, opinions, and other docket entries generated from

chambers will likewise be filed directly on to ECF. Notice of

these chamber entries will be communicated to counsel either by

ECF or ordinary mail.

            2.     All fact discovery shall be completed by July 19,

2023.




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            3.   All expert discovery shall be completed by August

22, 2023.

            4.   Any motions for summary judgment shall be filed

by September 22, 2023. Responses to any motions for summary

judgment shall be filed by October 23, 2023.

            5.   In the event a motion for summary judgment is

filed, pre-trial deadlines set forth in the following paragraphs

are suspended until further order of the Court.

            6.   Pretrial memoranda pursuant to Local Rule of

Civil Procedure 16.1(c), proposed voir dire questions, jury

instructions, 1 special interrogatories, and verdict forms for a

jury trial (or proposed findings of fact and conclusions of law

for a non-jury trial); and any motions in limine shall be filed

by October 13, 2023. Responses to any motions shall be filed by

October 18, 2023.

            7.   The case shall be placed in the trial pool on

October 23, 2023, or, if a motion for summary judgment is filed,

30 days from the disposition of the motion. Once placed in the

trial pool, a case may be called to trial upon twenty-four

hours’ notice to counsel.




1         Each proposed jury instruction should be numbered,
should appear on a separate page, and should include citations
to the authorities supporting the proposed instruction.

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          8.    If agreeable to both parties, counsel for

plaintiff shall telephone Judge Robreno’s Chambers to schedule a

settlement conference with Magistrate Judge Richard Lloret.

          9.    Plaintiff’s counsel shall advise the Court

promptly of settlement of the case.

          AND IT IS SO ORDERED.


                           ______________________________
                           EDUARDO C. ROBRENO, J.




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